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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE
 9 JASON MORANO, individually and on behalf            Case No.: 2:25-cv-00883-JHC
   of all other similarly situated,
10                                                     STIPULATED MOTION AND ORDER
                       Plaintiff,                      AMENDING DISCOVERY AND
11                                                     RESPONSIVE PLEADING DEADLINES
            v.
12
   REDFIN CORPORATION, ROCKET
13 COMPANIES, INC., DAVID H. LISSY,
   GLENN KELMAN, ROBERT BASS, JULIE
14 BORNSTEIN, KERRY D. CHANDER,
   AUSTIN LIGON, BRAD SINGER, JAMES
15 SLAVET, and SELINA TOBACCOWALA,

16                     Defendant.
17

18                                  I.    STIPULATED MOTION
19          Pursuant to LCR 7(d)(1) and LCR 10(g), Plaintiff and Defendants hereby stipulate and
20 jointly request that the Court enter an order continuing the deadlines set forth in the Court’s Order

21 Regarding Initial Disclosures, Joint Status Report, and Early Settlement, and further request that

22 the Court remove Defendants’ responsive pleading deadline from the calendar. In support of this

23 motion, the parties stipulate as follows:

24
            1.     WHEREAS, on May 9, 2025, Plaintiff Jason Morano (“Plaintiff”) filed the Class
25
     Action Complaint (“Complaint”) (Dkt. 1), alleging a claim under Section 14(a) of the Securities
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     Exchange Act of 1934 (“Exchange Act”) against Defendants Redfin Corporation (“Redfin”),
27
     Rocket Companies, Inc. (“Rocket”), and David H. Lissy, Glenn Kelman, Robert Bass, Julie
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 1 Bornstein, Kerry D. Chander, Austin Ligon, Brad Singer, James Slavet, and Selina Tobaccowala

 2 (collectively, the “Individual Defendants,” and collectively with Redfin and Rocket, the

 3 “Defendants”), a claim under Section 20(a) of the Exchange Act against the Individual Defendants,

 4 and a Delaware state law breach of fiduciary duty claim against the Individual Defendants;

 5          2.      WHEREAS, Defendants’ deadline to respond to the Complaint is currently set for
 6 August 4, 2025;

 7          3.      WHEREAS, on May 16, 2025, Plaintiff filed a Motion for Preliminary Injunction
 8 (Dkt. 23), requesting that the Court enjoin (i) the stockholder vote scheduled for June 4, 2025, and

 9 (ii) the consummation of the Merger itself (Dkt. 23-1), which, after subsequent filings by the
10 parties, was resolved by the Court on June 3, 2025 (Dkt. 53);

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            4.      WHEREAS, on June 11, 2025, Plaintiff filed a Motion for an Award of Reasonable
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     Attorneys’ Fees and Expenses (Dkt. 55, the “Fee Petition”), which Defendants opposed on
13
     June 26, 2025 (Dkt. 59), and with respect to which Plaintiff filed a reply (Dkt. 60);
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            5.      WHEREAS, the Fee Petition remains pending;
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            6.      WHEREAS, on July 7, 2025, the Court issued its Order Regarding Initial
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     Disclosures, Joint Status Report, and Early Settlement (Dkt. 62, the “Scheduling Order”), setting
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     a July 21, 2025 deadline for the parties’ FRCP 26(f) Conference, an August 4, 2025 deadline for
18
     the parties’ initial disclosures pursuant to FRCP 26(a)(1), and an August 11, 2025 deadline for the
19
     parties to submit a combined joint status report and discovery plan pursuant to FRCP 26(f) and
20
     LCR 26(f);
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            7.      WHEREAS, the parties have discussed the outstanding Fee Petition and Scheduling
22
     Order, and have agreed that (i) the claims set forth in Plaintiff’s Complaint are now moot;
23
     (ii) Defendants do not need to file a responsive pleading to the Complaint to resolve this matter;
24
     and (iii) the only remaining issue in the case is the resolution of the Fee Petition; and
25

26          8.      WHEREAS, in the interest of efficiently and expediently resolving this matter, the

27 parties further agree that all other deadlines set by the Court may be held in abeyance pending the

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 1 Court’s resolution of the Fee Petition without prejudice to any party.

 2          NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED among the

 3 undersigned Parties, and respectfully submitted for the Court’s approval, that:

 4          1.     (i) The FRCP 26(f) Conference deadline set for July 21, 2025, (ii) the Initial

 5 Disclosures Pursuant to FRCP 26(a)(1) deadline set for August 4, 2025, (iii) Defendants’

 6 Responsive Pleading deadline set for August 4, 2025, and (iv) the Combined Joint Status Report

 7 and Discovery Plan as Required by FRCP 26(f) and LCR 26(f) deadline set for August 11, 2025

 8 are all continued indefinitely and held in abeyance pending the Court’s resolution of the Fee

 9 Petition; and
10          2.     To the extent convenient for the Court, the parties will prepare a form of judgment

11 in this matter within fourteen (14) days of the Court’s decision on the Fee Petition.

12

13 Dated: July 10, 2025                               Respectfully submitted,

14

15    By: /s/ Roger M. Townsend                       By: /s/ Jonathan Tamimi
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16
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10
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11                                                       ROCKET COMPANIES, INC.

12
                                              II.   ORDER
13
            The Court, having considered the stipulated motion and being fully informed,
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            IT IS HEREBY ORDERED THAT:
15
            1.       (i) The FRCP 26(f) Conference deadline set for July 21, 2025, (ii) the Initial
16
     Disclosures Pursuant to FRCP 26(a)(1) deadline set for August 4, 2025, (iii) Defendants’
17
     Responsive Pleading deadline set for August 4, 2025, and (iv) the Combined Joint Status Report
18
     and Discovery Plan as Required by FRCP 26(f) and LCR 26(f) deadline set for August 11, 2025
19
     are all continued indefinitely and held in abeyance pending the Court’s resolution of the Fee
20
     Petition; and
21
            2.       The parties will prepare a form of judgment in this matter within fourteen (14)
22
     days of the Court’s decision on the Fee Petition.
23

24          DATED this 10th day of July, 2025.

25
                                                            _________________________
26                                                          John H. Chun
                                                            United States District Judge
27

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